               BEFORE THE UNITED STATES JUDICIAL PANEL
                    ON MULTIDISTRICT LITIGATION

 In re: JOHNSON & JOHNSON
 AEROSOL SUNSCREEN MARKETING,
 SALES PRACTICES AND PRODUCTS                                        MDL No. 3015
 LIABILITY LITIGATION


     REPLY BRIEF IN SUPPORT OF MOTION FOR TRANSFER AND
             CONSOLIDATION UNDER 28 U.S.C. § 1407

I.     INTRODUCTION

       The District of New Jersey is the most appropriate transferee court. The proposed transfer

and consolidation in New Jersey will be most convenient for the parties and witnesses and will

promote a just and efficient conduct of these Actions.

       Defendants Johnson & Johnson Consumer Inc. and Johnson & Johnson (“J&J or

Defendants”) manufacture, sell, market, and distribute several over-the-counter Sunscreen

products under its brand name “Neutrogena.” In 2020, Valisure LLC and ValisureRX LLC

(“Valisure”), an analytical pharmacy, ran tests on a variety of J&J’s Sunscreen products using a

sophisticated gas chromatography flame ionization test modified to follow FDA guidance for

impurities detection. Specifically, Valisure tested numerous lots of J&J’s spray and lotion

Sunscreen products and discovered that certain of the Sunscreen products contained excessive

levels of benzene, a known human carcinogen that has been linked to leukemia and other

cancers. Notably, benzene is not listed as an active or inactive ingredient on any of the labels of

the Products. Valisure filed a citizen petition with the Food and Drug Administration requesting

the FDA require a recall due to violations of the Federal Drug and Cosmetics Act.

       To date, 12 class actions have been filed against Defendants. All of the litigants in this

MDL agree that transfer is proper because the actions arise out of the same conduct and allege
similar claims. All of the actions similarly allege that Defendants produced, marketed, and sold

adulterated and misbranded sunscreen containing benzene but failed to disclose this fact to

consumers. Accordingly, all of the actions “involve one or more common questions of fact,”

thus making transfer and consolidation appropriate under 28 U.S.C. § 1407.



II.    RESPONSES TO MOTION TO TRANSFER

       The primary issue before the Panel is which of the prospective courts is the most

appropriate transferee forum. Most of the parties support transfer to New Jersey either as their

primary choice or as an alternative. Julianna Briglio (ECF No. 43), and Robert Alexander

Bodine, Halle Ellingson, Kurt Hall, Bennett Johnson, Kyle Melquist, Samantha Stolzenbach,

Sharon Trainor, and Stacey Vaidis (ECF No. 44) fully support Movants’ motion to transfer to the

District of New Jersey. Timothy McLaughlin (ECF No. 40) supports transfer and consolidation

to the District of New Jersey or, alternatively, the Northern District of California. Notably,

Defendants’ first choice of venues is also the District of New Jersey (ECF No. 41). Steven

Lavalle (ECF No. 39) supports transfer and consolidation to the Southern District of New York,

or, in the alternative, the District of New Jersey. Shelli French and Nicole Sander (ECF No. 37)

support transfer and consolidation to the Northern District of California, the Southern District of

New York, or the District of New Jersey.

       A minority of Plaintiffs support transfer to federal courts in California or Florida.

Johanna Dominguez and Sharron Meijer (ECF No. 45) support transfer and consolidation to

Northern District of California or, in the alternative, the Central District of California. George B.

Rafal (ECF No. 46-47) supports centralization of all cases to Northern District of California, and
the Brennan Plaintiffs (ECF No. 36) support transfer and consolidation to Northern District of

California or, in the alternative, the Southern District of Florida.




III.   ARGUMENT

       For the reasons set forth in Plaintiffs’ opening papers and below, the District of New

Jersey is the most appropriate transferee court. As J&J’s headquarters are located in New Jersey,

the District of New Jersey is conveniently located for the parties, documents, and witnesses,

making it the most appropriate venue in which to centralize the Actions. See In re Fairlife Milk

Prods. Mktg. & Sales Practices Litig, 396 F. Supp. 3d 1370, 1371 (J.P.M.L 2019) (a district “has

a strong connection” to a matter when the defendant is headquartered there, and when the

defendant’s marketing decisions “likely were conceived and executed there”). Several airports

are easily accessible making it convenient for the parties to attend court conferences and to take

depositions of J&J employees and third parties.

       While Movants in their opening papers suggested consolidating the cases in New Jersey

before Judge Wolfson, other parties have suggested the cases be transferred to the Honorable

Zahid N. Quraishi. Recently confirmed by the Senate, Judge Quraishi made history by being the

first Muslim ever appointed to the federal judiciary. Judge Quraishi has five of the six cases

pending in the District of New Jersey that are part of this MDL. Unlike Judge Wolfson, Judge

Quraishi also has no MDLs currently pending on his docket. Judge Quraishi is an extremely

talented jurist who would certainly excel in presiding over this MDL. As a Magistrate Judge, he

showed skill managing complex litigation. See, e.g., Takata v. Riot Blockchain, Inc., Case No.
18- cv-2293 (D.N.J.). Accordingly, Movants agree with Defendants and others that Judge

Quraishi would be an excellent choice given Judge Wolfson’s current caseload.



Dated: August 26, 2021

                                           Respectfully Submitted,

                                           /s/ Jonathan Shub

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